Case 2:04-cr-20313-SH|\/| Document 82 Filed 07/14/05 Page 1 of 2 Page|D 116

Fu.Eo BY _____ D.C-
IN THE UNITED STATES DISTRICT COURT -

FOR THE WESTERN DISTRICT OF TENNESSEEOSJUL|h AH|i:O3
WESTERN DIVISION

 

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UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

vS. ) CR. NO. 04-20313-Ma

)
WILLIAM WOODS, )
)
Defendant. }

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Thie cause came on for a report. date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the caSe.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3l61(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a Speedy trial.

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IT IS SO ORDERED this day of July, 2005.

J//W"vz___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 82 in
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Honorable Samuel Mays
US DISTRICT COURT

